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Attorneys for Plaintiff
                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION
___________________________________________
                                    )
TIKTOK INC.,                        )
                                    )
                        Plaintiff,  )
                                    ) Civil Action No. ___________
             v.                     )
                                    ) COMPLAINT FOR DECLARATORY
AUSTIN KNUDSEN, in his official ) AND INJUNCTIVE RELIEF
capacity as Attorney General of the )
State of Montana,                   )
                                    )
                        Defendant. )
_______________________________)
      Plaintiff TikTok Inc., for its Complaint against Defendant Austin Knudsen,

in his official capacity as Attorney General of the State of Montana, alleges as

follows:

                                INTRODUCTION

      1.     This action seeks to prevent the State of Montana from unlawfully

banning TikTok, a short-form video sharing platform that empowers hundreds of

thousands of users in Montana to communicate and express themselves, primarily

through creating, sharing, and interacting with short-form videos on topics “as

diverse as human thought.” Reno v. ACLU, 521 U.S. 844, 870 (1997). Montana’s

ban abridges freedom of speech in violation of the First Amendment, violates the

U.S. Constitution in multiple other respects, and is preempted by federal law.

      2.     Every month, more than 150 million Americans use TikTok to

express themselves and connect with others. Montanans use TikTok to

communicate with each other and others around the world on an endless variety of

topics, from business to politics to the arts, by creating and sharing videos, sending

messages to each other, and interacting with each other’s content. By fostering

connections among individuals, TikTok has become home to thousands of different

communities and a thriving forum for a wide range of businesses and entrepreneurs

to communicate about their products and services.




                                          2
      3.     On May 17, 2023, the Governor of Montana signed An Act Banning

TikTok in Montana (the “TikTok Ban” or the “Ban”), which prohibits the

operation of TikTok throughout the State. A copy of the TikTok Ban is attached as

Exhibit A to this Complaint. To enforce the TikTok Ban, the legislation imposes a

$10,000 penalty for each “discrete violation,” defined as any time an individual in

Montana accesses TikTok, is offered the ability to access TikTok, or is offered the

ability to download TikTok. The TikTok Ban—including its substantial

penalties—is set to take effect January 1, 2024.

      4.     The State has enacted these extraordinary and unprecedented

measures based on nothing more than unfounded speculation. Specifically, the

State claims that the government of the People’s Republic of China (“China”)

could access data about TikTok users, and that TikTok exposes minors to harmful

online content. Yet the State cites nothing to support these allegations, and the

State’s bare speculation ignores the reality that Plaintiff has not shared, and would

not share, U.S. user data with the Chinese government, and has taken substantial

measures to protect the privacy and security of TikTok users, including by storing

all U.S. user data by default in the United States and by erecting safeguards to

protect U.S. user data. TikTok has also implemented safeguards to foster a safe

environment for all users, including teens.




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      5.     Ignoring these facts and the federal statutory framework already in

place to address any purported concerns about foreign government access to

TikTok user data, the State has mandated a complete and total ban of TikTok in

Montana. It has done so despite the availability of more targeted measures to

address its purported concerns. In less than eight months, no resident of, visitor to,

or worker passing through Montana will be able to download TikTok on his or her

phone or mobile device, post any videos to TikTok for others to see, or view any

content on the platform.

      6.     Acknowledging “legal concerns” about the TikTok Ban, the Montana

Governor suggested changes to the legislation after it had already been passed by

the Montana Legislature.1 Those changes would have shifted the Ban’s focus from

TikTok specifically (and the content on the TikTok platform) to social media

applications connected to foreign entities more generally. But the Legislature did

not consider the Governor’s suggested changes—which were legally problematic

in their own right—and yet the Governor signed the TikTok Ban into law anyway.

This unprecedented and extreme step of banning a major platform for First

Amendment speech, based on unfounded speculation about potential foreign




1
 Haleluya Hadero, Montana Gov Seeks To Expand TikTok Ban to Other Social
Apps, ASSOCIATED PRESS (Apr. 26, 2023), https://apnews.com/article/tiktok-ban-
montana-bytedance-b735350b367c3f3a0076eaf1267dab18.
                                          4
government access to user data and the content of the speech, is flatly inconsistent

with the Constitution.

      7.        The TikTok Ban is unlawful and should be enjoined for multiple,

independent reasons. Specifically:

           a.      First Amendment. The TikTok Ban violates Plaintiff’s First
                   Amendment rights. Through TikTok, Plaintiff exercises its
                   constitutionally protected editorial judgment on whether, and how,
                   to host, disseminate, and promote third-party speech created by
                   others, and also shares its own content with users in Montana about
                   a variety of issues and current events. The TikTok Ban, however,
                   effects a prior restraint on the speech of Plaintiff and other TikTok
                   users, unconstitutionally shutting down the forum for speech for all
                   speakers on the app and singling these speakers out for disfavored
                   treatment with the content-based rationale that videos on TikTok
                   are harmful to minors.

           b.      Federal Preemption. The TikTok Ban is preempted by federal
                   law because it intrudes upon matters of exclusive federal concern.
                   The TikTok Ban is based on the State’s purported concern about
                   the security of U.S. user data vis-à-vis the Chinese government.
                   But foreign affairs and national security are matters over which the
                   U.S. Constitution vests exclusive authority in the federal
                   government, not the States. Indeed, Congress has created a
                   specific federal regulatory process by which the purported national
                   security concerns that have animated this legislation may be
                   addressed. The TikTok Ban would necessarily disrupt and
                   interfere with that process, which is currently underway.

           c.      Commerce Clause. The TikTok Ban violates the Commerce
                   Clause of the U.S. Constitution, which limits the authority of
                   States to enact legislation that unduly burdens interstate and
                   foreign commerce. By banning Plaintiff from operating TikTok
                   within Montana, the TikTok Ban imposes a state-specific ban on a
                   communication platform that is national (indeed, international) in
                   scope. The Ban interferes with TikTok’s operation and availability

                                            5
                    to users in other States and it risks disrupting the flow of travel and
                    commerce between States.

            d.      Bill of Attainder. The TikTok Ban is an unconstitutional bill of
                    attainder. Rather than regulate social media companies more
                    generally, the Ban banishes TikTok, and just TikTok, from the
                    State for purely punitive reasons, as evidenced by the State’s
                    decision to single out Plaintiff for harsh penalties based on
                    speculative concerns about TikTok’s data security and content
                    moderation practices.

      8.         To halt this unlawful conduct, Plaintiff seeks a declaratory judgment

and order invalidating and preliminarily and permanently enjoining Defendant

from enforcing the TikTok Ban.

                             JURISDICTION AND VENUE

      9.         The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action arises under the U.S. Constitution and federal law. This Court

also has jurisdiction under 28 U.S.C. § 1343(a)(3) to redress deprivations “under

color of any State law, statute, ordinance, regulation, custom or usage, of any right,

privilege or immunity secured by the Constitution of the United States.”

      10.        The Court has authority to grant declaratory and injunctive relief

pursuant to 42 U.S.C. § 1983; the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et

seq.; the All Writs Act, 28 U.S.C. § 1651; and the Court’s inherent equitable

powers.

      11.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1)

because the only Defendant, the Attorney General of Montana, resides in this
                                              6
district. Venue is also proper in this district under 28 U.S.C. § 1391(b)(2) because

a substantial part of the events or omissions giving rise to this action occurred in

this district.

       12.       Venue is proper in this division pursuant to Local Rule 3.2(b) and

Mont. Code § 25-2-125. Based on IP address information for March 2023,

Plaintiff estimates that approximately 110,000 monthly active users accessed

TikTok in the counties within the Missoula Division, which was the greatest

concentration of TikTok users for any division of the District of Montana.

       13.       On May 17, 2023, a related case was filed in this division by five

individual TikTok users residing in Missoula, Bozeman, and Custer, who also

allege that the TikTok Ban violates the First Amendment and other provisions of

federal law. See Alario et. al v. Knudsen, No. 23-cv-00056 (D. Mont. May 17,

2023). That related case involves common questions of law and fact with this suit.

                                        PARTIES

       A.        Plaintiff

       14.       Plaintiff TikTok Inc. is a company incorporated in California, with its

principal address in Culver City, California. The TikTok platform is provided in

the United States by TikTok Inc.




                                             7
      B.     Defendant

      15.    Defendant Austin Knudsen is the Attorney General of Montana and is

sued in his official capacity. The TikTok Ban charges the Montana Department of

Justice, of which Attorney General Knudsen is the head, with its enforcement.

                           FACTUAL ALLEGATIONS

      A.     TikTok is a Popular and Important Platform for Users to
             Communicate With Others Through a Wide Range of Expression
             and Creative Content.

      16.    TikTok is a short-form video sharing platform that enables users to

create, share, and view videos. TikTok encourages users to celebrate what makes

them unique, while finding a community that does the same. TikTok’s mission is

“to inspire creativity and bring joy.”2

      17.    TikTok users can both create and share their own videos and watch

and interact with videos posted by others, such as by “liking” a video or posting a

comment on it. To help TikTok users connect with others who post video content

that would be interesting to them, TikTok offers a “For You” page, which opens to

a stream of videos that is curated by TikTok’s recommendation system. TikTok

users can also use TikTok’s “Discover” page to explore diverse content by

searching for particular topics in videos posted by other users. In addition, TikTok



2
 Our Mission, TIKTOK, https://www.tiktok.com/about?lang_en (last visited May
22, 2023).
                                          8
recently introduced a “STEM” initiative in the United States to provide users with

a dedicated space to explore video content related to science, technology,

engineering, and math.

      18.    In addition to sharing and commenting on videos, TikTok users can

connect with one another in a variety of ways. For example, users can “tag” other

users in the comments, use the app’s “duet” and “stitch” tools to create new

content that incorporates and responds to content created by others, use the

“TikTok LIVE” feature to communicate live with others on the platform, and send

direct messages to one another.3

      19.    TikTok is operated by and provided in the United States by a U.S.

company, Plaintiff TikTok Inc. Plaintiff is led by an executive team located in the

United States and Singapore and has offices across the United States, including in

Los Angeles, New York, and Washington, D.C. Plaintiff has almost 7,000

employees in the United States. The TikTok platform is not available in China.

      20.    Plaintiff is ultimately owned by ByteDance Ltd. (“BDL”). BDL is a

global company incorporated in the Cayman Islands that conducts business

through local subsidiaries, such as Plaintiff TikTok Inc. and other TikTok

operating entities. BDL is a privately owned company. Roughly sixty percent of

3
 As discussed below, certain age restrictions apply to TikTok features for users
under 18. See also Guardian’s Guide, TIKTOK,
https://www.tiktok.com/safety/en/guardians-guide (last visited May 22, 2023).
                                         9
BDL is beneficially owned by global institutional investors, such as Carlyle Group,

General Atlantic, and Susquehanna International Group; approximately twenty

percent of the company is owned by the company’s subsidiaries’ employees

around the world; and approximately twenty percent is owned by the company’s

founder, who is a private individual and is not part of any state or government

entity.

          21.   TikTok was first launched globally in 2017 and re-launched in the

United States in August 2018. Within a year-and-a-half, TikTok had nearly 40

million U.S. monthly active users. In September 2021, TikTok surpassed more

than 1 billion monthly active users worldwide. As of March 2023, more than 150

million Americans use TikTok every month.

          22.   TikTok operates in all fifty States and more than 170 countries. Users

can access TikTok on their phones, computers, and other mobile devices to create,

share, view, and interact with video content to and from other users around the

country and the world.

          23.   TikTok enables users to express themselves creatively to others. The

range of expression between users on TikTok is vast and diverse, including music,

art, sports, food, pets, hobbies, books, civic engagement, religion, and politics.

Popular videos with millions of views span these topics and beyond. For example,




                                           10
one of the most popular videos ever on TikTok is a video of a magician pretending

to fly on a broomstick, which has been viewed over 2 billion times.4

          24.   TikTok has evolved into a community in which individuals who might

otherwise feel isolated are able to share their experiences with each other and

advocate for one another. TikTok fosters these communities, which can act as

important support groups for groups such as recovering alcoholics and people

living with rare diseases.5 For example, a recent news story highlighted a

supportive community on TikTok composed of individuals who care for dementia

patients.6 These caregivers post short-form videos on the app that share their

experiences with—and provide practical advice for—caring for loved ones with

dementia. These videos provide caregivers with a “strong sense of community”

that helps them “weather the highs and lows” of serving as a caregiver.7




4
 Zach King (@zachking), TIKTOK, https://www.tiktok.com/t/ZTR3xCjdv (last
visited May 22, 2023).
5
 AJ Willingham, Leah Asmelash, & Scottie Andrew, The Biggest Ways TikTok
Has Changed American Culture, CNN (Apr. 2, 2023),
https://edition.cnn.com/2023/04/02/us/tiktok-american-culture-effects-
cec/index.html.
6
 #Dementia TikTok is a Vibrant, Supportive Community, NAT’L PUBL. RADIO
(Oct. 12, 2022), https://www.npr.org/2022/10/12/1128358073/-dementia-tiktok-is-
a-vibrant-supportive-community.
7
    Id.
                                         11
          25.   In Montana and elsewhere, individuals use TikTok to communicate

and connect with one another and share their unique experiences and life stories

with others around the world. As just one example, a rancher in Montana, whose

TikTok username is @bigskycaroline, has fostered a community of over 88,000

followers by sharing videos of her experiences caring for sheep and other animals

on her ranch.8 Her videos have received over 1.2 million likes.9

          26.   The vast majority of content on TikTok is affirming, healthy, and

suitable for all users. A particularly popular community on TikTok, for example,

is #BookTok, where individuals discuss, recommend, and celebrate literature.

Videos with the hashtag #BookTok have over 100 billion views.10 “BookTok is

widely believed to have driven a big bump in book sales and increased the

popularity of reading in general.”11

          27.   Beyond serving as a forum for users to enjoy entertaining content and

find supportive communities, TikTok also enables users to engage in civic

discourse with each other. Many teachers, for example, “leverage their TikTok


8
 Big Sky Caroline (@bigskycaroline), TIKTOK,
https://www.tiktok.com/@bigskycaroline? (last visited May 22, 2023).
9
    Id.
10
  #BookTok, TIKTOK, https://www.tiktok.com/tag/booktok (last visited May 22,
2023).
11
  TikTok Users Report Reading 50% More Because of BookTok, BOOK RIOT
(May 16, 2023), https://bookriot.com/booktok-survey/.
                                           12
platforms to highlight serious issues in education and the teaching profession.”12

More broadly, TikTok users of all stripes communicate and express their views on

the app about the issues they care about, including individual rights and health

care.13 Many of the app’s features, such as the “stitch” tool and in-video comment

replies, provide users with an “organic way to comment on political

information.”14

      28.    TikTok is also a forum for users to express their faith. Through

TikTok, individuals of diverse faiths connect with others throughout the world to

share aspects about their faith and answer questions about their beliefs.15 For

example, the hashtag #christiantiktok has over 40 billion views.16




12
  Hayley Hardison, How Teachers Use TikTok: To Get New Ideas, Feel Inspired,
and Indulge a Laugh or Two, EDUCATION WEEK (Feb. 14, 2023),
https://www.edweek.org/teaching-learning/how-teachers-use-tiktok-to-get-new-
ideas-feel-inspired-and-indulge-a-laugh-or-two/2023/02.
13
  Jacob Fulton, Gen Z Activists Worry That University TikTok Bans Could Hurt
Their Ability to Organize, BOSTON GLOBE (Feb. 2, 2023),
https://www.bostonglobe.com/2023/02/02/nation/gen-z-activists-worry-that-
university-tiktok-bans-could-hurt-their-ability-organize/.
14
  Sofia Andrade, The Growing Political Power of TikTok, THE NATION (Jan. 25,
2023), https://www.thenation.com/article/politics/tiktok-election-gen-z-voters/.
15
   John Reynolds, TikTok is Helping Us Reach Millions with the Gospel, PREMIER
CHRISTIANITY (Aug. 22, 2022), https://www.premierchristianity.com/real-
life/tiktok-is-helping-us-reach-millions-with-the-gospel/13647.article.
16
  #christiantok, TIKTOK, https://tiktok.com/tag/christiantiktok?lang=en (last
visited May 22, 2023).
                                         13
      29.    Although TikTok does not permit political advertising or campaign

fundraising on its platform,17 TikTok is an increasingly important channel for

constituents and voters to obtain information and advocacy directly from elected

officials and political candidates and to send and receive information and

encouragement about exercising the right to vote.18 American politicians from

across the political spectrum communicate on TikTok.19 These politicians use

TikTok to communicate with voters in an informal and accessible way.

      30.    Operating and using TikTok is also a form of expression for Plaintiff

itself. One way Plaintiff expresses itself is through the content it promotes on the

platform. For example, Plaintiff recently launched a campaign called “EduTok,”

which encourages users to create and share educational and motivational content



17
  TikTok’s Stance on Political Ads, TIKTOK,
https://www.tiktok.com/creators/creator-portal/community-guidelines-and-
safety/tiktoks-stance-on-political-ads (last visited May 22, 2023).
18
   See, e.g., Lindsay Gorman & Nash Miller, Not Just Dance Videos: How
Candidates Are Using TikTok in the US Midterms, ALL. FOR SECURING
DEMOCRACY (Oct. 31, 2022), https://securingdemocracy.gmfus.org/candidates-
tiktok-us-midterm-elections-2022/; TikToks to Get Out the Vote, LEAGUE OF
WOMEN VOTERS (Sept. 20, 2022), https://www.lwv.org/blog/tiktoks-get-out-vote
(“There are a million ways to get-out-the-vote (GOTV), and when it comes to
reaching new voters, one of the best methods is via the incredibly popular video
app, TikTok!”).
19
   Cat Zakrzewski, Naomi Nix & Taylor Lorenz, As Midterms Loom, TikTok Faces
its Next Political Test, WASH. POST (Oct. 31, 2022),
https://www.washingtonpost.com/technology/2022/10/31/tiktok-faces-2022-
midterm-elections.
                                         14
on a variety of themes. Plaintiff has also launched other campaigns to share public

interest content. Through special effects, filters, and stickers offered by the

platform, TikTok users have the ability to share their perspectives about these

public interest issues.

      31.    Plaintiff also expresses itself through its own account, which has more

than 70 million followers, and through which Plaintiff shares messages with users

about a variety of issues and current events, including, for example, Plaintiff’s

support for small businesses and Earth Day.

      32.    TikTok is also a platform through which individuals, including many

TikTok users in Montana, earn a living.20 Small businesses use TikTok to reach

new audiences and grow their businesses, and for some, success can happen

overnight.21 Based on this kind of success, “[m]any small businesses that rely on

TikTok for marketing don’t want to see it go, saying it’s changed their lives.”22



20
  See, e.g., Madison Malone Kircher, In Montana, Creators Await—and Dread—a
TikTok Ban, N.Y. TIMES (May 18, 2023),
https://www.nytimes.com/2023/05/18/style/montana-tiktok-ban-influencers.html.
21
  Kristin Merkel, Montana Business Owners Say They’re Concerned by Possible
TikTok Ban in the State, KBZK 7 BOZEMAN (Mar. 14, 2023),
https://www.kbzk.com/news/local-news/montana-legislature-tiktok-ban-business-
owners.
22
  Dominic Vitiello, Some Local Businesses Disheartened by Potential Statewide
TikTok Ban, NBC MONTANA (Apr. 11, 2023),
https://nbcmontana.com/news/local/some-local-businesses-disheartened-by-
potential-statewide-tiktok-ban#.
                                          15
       33.   For instance, Montana resident Shauna White Bear is an artisan who

uses TikTok to promote her business, White Bear Moccasins.23 White Bear has

over 70,000 followers on TikTok and communicates with her customers by, among

other things, posting informative, creative videos showing how she makes bison

leather moccasins. Hundreds of Montana businesses, like White Bear Moccasins,

use TikTok to boost sales and find new customers.24

       34.   In 2020, TikTok launched the TikTok Creator Fund to support its

users in creating and sharing content on the platform. In 2021, TikTok announced

that it would invest $1 billion in the fund to support U.S.-based creators who make

and share videos with others on the platform. U.S. users who are at least 18 years

old and meet certain other criteria are eligible to participate in, and can receive

funds from, the Creator Fund to help them further their creative pursuits on the

app.

       B.    Plaintiff Has Implemented Safeguards to Protect the Privacy and
             Security of U.S. User Data.

       35.   TikTok is popular because people feel comfortable on the platform

expressing themselves openly and creatively. A priority for Plaintiff is therefore



23
  white_bear_moccasins (@whitebearmocs), TIKTOK,
https://www.tiktok.com/@whitebearmocs?lang=en (last visited May 22, 2023).
24
  A Message to Our Community in Montana, TIKTOK (Mar. 13, 2023),
https://newsroom.tiktok.com/en-us/stop-montana-ban.
                                          16
maintaining a safe and supportive environment on TikTok. Part of this mission is

designing and operating TikTok in a way that protects the privacy and security of

U.S. user data.

       36.    Privacy is built into TikTok by design, including through the app’s

data collection practices. As set out in its Privacy Policy and like other platforms,

TikTok collects certain information from its U.S. users, such as username, date of

birth,25 and, depending on the process by which a user signs up for TikTok, the

user’s phone number or email address.26 TikTok does not, however, require users

to provide their real names during registration, nor does TikTok ask its users about

their employment or relationship status. Moreover, current versions of the TikTok

app do not collect precise or approximate GPS information from U.S. users.

       37.    With respect to the limited data that TikTok does collect from U.S.

users, Plaintiff devotes significant resources to keeping that data secure. The

centerpiece of Plaintiff’s data security efforts is an unprecedented initiative

dedicated to safeguarding U.S. user data and addressing national security concerns

expressed by the U.S. government. To date, over $1.5 billion has been spent on

Plaintiff’s initiative.


25
  Dates of birth are necessary for Plaintiff to provide an age-appropriate
experience to users.
26
  Privacy Policy, TIKTOK (last updated Mar. 21, 2023),
https://www.tiktok.com/legal/privacy-policy?lang=en.
                                          17
      38.    In furtherance of this initiative, Plaintiff has formed a special-purpose

subsidiary, TikTok U.S. Data Security Inc. (“USDS”), that will oversee protected

U.S. user data and the underlying TikTok U.S. platform. To provide further

assurance and protection, TikTok has also contracted with Oracle Corporation, a

prominent U.S. public company and provider of cloud-based services, to store

TikTok’s U.S. user data. TikTok currently routes 100% of U.S. user traffic to

Oracle and USDS-controlled infrastructure in the United States.

      39.    Oracle also provides a variety of other services for TikTok. For

example, USDS is running the recommendation system for U.S. users, which

determines what appears in their “For You” page, in the Oracle Cloud

infrastructure. Oracle has also begun inspecting TikTok’s source code, which will

ultimately serve to identify instances of potential malicious code or security

vulnerabilities. No other social media company or entertainment platform provides

this type of access and transparency to third-party entities.

      40.    As these and other efforts show, Plaintiff is committed to

safeguarding U.S. user data against unauthorized access from outside the United

States, including by any foreign government. Plaintiff has never shared, or

received a request to share, U.S. user data with the Chinese government. Nor

would Plaintiff honor such a request if one were ever made.




                                          18
      C.     TikTok Has Safeguards in Place to Moderate Harmful Content
             and Protect Minor Users.

      41.    Another aspect of Plaintiff’s commitment to creating a safe and

supportive environment is protecting TikTok users against harmful content that

might be uploaded to the platform. Safety and wellness—particularly for minors—

is a core priority for Plaintiff. By deciding what content is (and is not) appropriate

on the platform, Plaintiff exercises its editorial judgment as to what kind of

community it wants to foster on TikTok.

      42.    While the vast majority of content on TikTok is suitable for all

TikTok users, the reality of modern communication is that some users will

inevitably seek to share content that is inappropriate and harmful. All online

platforms that host user-generated content face this challenge. In response, TikTok

maintains a multi-layered set of product features, policies, and procedures to help

protect its users—and minor users in particular—against inappropriate and harmful

content.

      43.    TikTok enforces rules governing the scope of permissible content on

TikTok, which it has labeled its Community Guidelines. The Guidelines, which

are available to users and the general public, prohibit certain categories of videos,

including those featuring nudity, sexual activity, and sexually explicit or

exploitative content, as well as videos that appear dangerous or otherwise harmful.



                                          19
The Community Guidelines were created and are continually refined in

consultation with third-party experts.

      44.    A stated basis for the TikTok Ban is that “TikTok fails to remove, and

may even promote, dangerous content that directs minors to engage in dangerous

activities.” In fact, TikTok dedicates a section of its Community Guidelines to

forbidding “[d]angerous activities and challenges.” As that section explains,

TikTok “do[es] not allow showing or promoting dangerous activities and

challenges . . . includ[ing] . . . activities that may lead to significant physical

harm.”27

      45.    TikTok uses both technology and human moderators to remove

content that violates the Community Guidelines. In the fourth quarter of 2022,

96.2% of content identified as violative was removed before receiving any reports

from users or others.28 In 91.2% of cases during the same time period, the removal

occurred within 24 hours of when the content was posted, and in 84.7% of cases,

the removal occurred before the video received any views. For videos deemed to

violate the Guideline against “dangerous acts and challenges” during this same



27
  Community Guidelines, TIKTOK (Mar. 2023),
https://www.tiktok.com/community-guidelines/en/mental-behavioral-health/#3.
28
  Community Guidelines Enforcement Report, TIKTOK (Mar. 31, 2023),
https://www.tiktok.com/transparency/en/community-guidelines-enforcement-2022-
4/.
                                            20
time period, TikTok proactively removed 96.0% of videos before they were

reported, with 82.2% removed within 24 hours of being posted on the platform.

TikTok removed 70.5% of the videos identified as involving dangerous acts or

challenges before they received any views.

      46.    TikTok is an active member of the Technology Coalition, an

organization that works to protect children from online sexual exploitation and

abuse. TikTok screens content for signs of potential predatory or abusive

behavior. TikTok’s moderation system is automated to identify content, including

videos, captions, and comments, that violate TikTok’s Youth Safety and Wellbeing

Policy. Every video uploaded to TikTok goes through automated moderation, and

potentially violative content can be automatically removed or escalated for human

review by teams of trained moderators.

      47.    For U.S. users under 13, TikTok provides a different, age-appropriate

experience, with stringent safeguards and privacy protections designed specifically

for this age group. In this experience, users under 13 can view fun, creative, and

educational videos that are vetted by a third-party expert, Common Sense

Networks. These users cannot post videos on the platform, comment on others’

videos, exchange messages with others, or maintain a profile or followers.

      48.    Similarly, TikTok provides age-appropriate settings and controls for

its teen users. For users between 13 and 16, TikTok sets their accounts to private

                                         21
by default. For example, such accounts are prevented from sending direct

messages, and their content is ineligible for recommendation into the “For You”

page. TikTok also prevents teens from receiving late-night push notifications and

gives parents and guardians the ability to create further restrictions on

notifications. Another safety feature is that users under 18 cannot host LIVE.

      49.    TikTok’s parental control feature, Family Pairing, allows a parent to

link their TikTok account to their child’s account and set certain parental controls,

including restricting the child’s ability to search for content, limiting the amount of

time the child may spend on TikTok, and preventing other users from commenting

on the child’s videos. These controls have been recognized by independent experts

as “the most comprehensive” in the industry.29

      50.    TikTok continues to enhance its robust existing safety settings for teen

accounts. For example, in March 2023, after consulting with the Digital Wellness

Lab at Boston Children’s Hospital, TikTok announced that every account

belonging to a person under age 18 will have a 60-minute daily screen time limit

by default. If the 60-minute limit is reached, teens will be prompted to enter a

passcode in order to continue watching, requiring them to make an active decision

to extend that time. In the under-13 experience, the daily screen time limit will

29
  Julie Jargon, How to Use Parental Controls on YouTube, TikTok, Instagram and
Snapchat, WALL ST. J. (Apr. 16, 2022), https://www.wsj.com/articles/how-to-use-
parental-controls-on-youtube-tiktok-instagram-and-snapchat-11650065233.
                                          22
also be set to 60 minutes, and a parent or guardian will need to set or enter a

passcode to enable 30 minutes of additional watch time.

      D.     The Montana Government’s Ban of TikTok in the State.

      51.    Notwithstanding Plaintiff’s ongoing efforts to provide all users,

including Montanans, with a robust set of privacy, security, and safety protections,

on April 14, 2023, the Montana Legislature took the unprecedented step of passing

An Act Banning TikTok in Montana. Before the Act reached Governor

Gianforte’s desk, the Governor suggested amendments to the Act that would have

shifted its focus from targeting TikTok specifically to social media applications

connected to foreign entities more generally. The Governor’s office stated that

these suggested changes were meant to address the Act’s “technical and legal

concerns.”30 The Legislature did not consider the Governor’s suggested changes,

and Governor Gianforte signed the TikTok Ban into law anyway on May 17, 2023.

      52.    Supporters of the TikTok Ban made clear that its purpose was to

target China. The bill’s primary sponsor, Sen. Shelley Vance, stated in a

March 28, 2023 hearing that the bill “puts an end to China’s surveillance operation

in Montana.” At a floor session on April 13, 2023, another sponsor of the bill,




30
  Haleluya Hadero, Montana Gov Seeks to Expand TikTok Ban to Other Social
Apps, ASSOCIATED PRESS (Apr. 26, 2023), https://apnews.com/article/tiktok-ban-
montana-bytedance-b735350b367c3f3a0076eaf1267dab18.
                                          23
Rep. Brandon Ler, linked TikTok to the balloon shot down in Montana and stated:

“I believe it’s time we stand up to the Chinese and ban TikTok.”

      53.    The TikTok Ban does precisely what its formal name (“An Act

Banning TikTok”) suggests. See Ex. A Section 1(1). Specifically, it prohibits “the

operation of tiktok” within the territorial jurisdiction of Montana and bans any

efforts by Plaintiff or app stores to afford anyone in Montana “the option to

download the tiktok mobile application.” Id.

      54.    To enforce the TikTok Ban, the legislation imposes a $10,000 penalty

for each “discrete violation,” defined as any time “a user accesses tiktok, is offered

the ability to access tiktok, or is offered the ability to download tiktok” in the State.

Id. Sections 1(2), 1(7)(a). Such penalties accrue against Plaintiff and any “mobile

application store,” but not against any “users of tiktok.” Id. Sections 1(5), 1(7)(b).

      55.    The ramifications of the TikTok Ban are sweeping. By banning

TikTok, the State has taken the unprecedented step of eliminating a popular

communication and information-sharing platform that many thousands of

Montanans use to express themselves, engage in discussions with others, receive

information from others inside and outside the State, and share their viewpoints




                                           24
with people around the world. Since Governor Gianforte signed the Ban, creators

from Montana have explained how it will harm them and their businesses.31

      56.     The State has also curtailed Plaintiff’s speech rights. Through the

Ban, the State has taken away the mechanism through which Plaintiff

communicates with Montana residents and exercises its editorial judgment

regarding what content to allow on the platform and what types of public interest

messaging to promote, such as EduTok.

      57.     To attempt to justify this sweeping prohibition, the TikTok Ban makes

a variety of unsubstantiated allegations about the threat that TikTok poses to

national security. For example, the “findings” in the legislation accuse TikTok of

“gather[ing] significant information from its users,” which it allegedly “share[s]

with the People’s Republic of China.” The findings further charge TikTok with

“stealing . . . information and data from users,” which it allegedly provides to “the

Chinese Communist Party” to enable it to engage in “corporate and international

espionage.”




31
  Madison Malone Kircher, In Montana, Creators Await—and Dread—a TikTok
Ban, N.Y. TIMES (May 18, 2023),
https://www.nytimes.com/2023/05/18/style/montana-tiktok-ban-influencers.html;
Jacey Fortin, Eliza Fawcett & Jim Robbins, In Montana, a TikTok Ban Could Be a
‘Kick in the Face,’ N.Y. TIMES (May 18, 2023),
https://www.nytimes.com/2023/05/18/us/tiktok-ban-montana-reaction.html.
                                          25
      58.    These allegations are entirely false. Indeed, Plaintiff has made clear,

through its actions and statements, that it shares no U.S. user data with the Chinese

government and will not do so in the future. TikTok also has a highly developed

and sophisticated content moderation program designed to provide a safe forum for

its users and to express Plaintiff’s editorial judgment as to the kind of platform

TikTok wants to be. This moderation system does not censor content to advance

the objectives of any government, and there is no evidence that TikTok has ever

been used to engage in espionage on behalf of any foreign government.

      59.    In any event, banning TikTok is neither necessary nor effective in

protecting user data. As privacy experts have emphasized, much of the data

collected by TikTok is no different in kind from the data routinely collected by

other apps and sources in today’s online world, which is widely available in the

data broker market. See, e.g., Alfred Ng, TikTok Fervor Sparks Push for U.S. Data

Privacy Legislation, POLITICOPRO (Mar. 22, 2023) (“Even if they actually did ban

TikTok, governments could go purchase much of the same information from

unregulated data brokers, who flourish in the U.S. with basically no laws to keep

them in check.” (quoting Evan Greer, deputy director for the digital rights group

Fight for the Future)). In other words, the TikTok Ban does not address the

concerns that purportedly animate it, and it rests not on the reality of Plaintiff’s

business, but on conjecture, hyperbole, and demonstrable falsehoods.

                                           26
      E.     The TikTok Ban Encroaches on the Federal Government’s
             Exclusive Authority Over Matters of National Security and
             Foreign Affairs.

      60.    “The Constitution gives the federal government the exclusive

authority to administer foreign affairs,” Movsesian v. Victoria Versicherung AG,

670 F.3d 1067, 1071 (9th Cir. 2012) (en banc), as well as to “provide for the

common Defence . . . of the United States,” U.S. Const. art. 1, § 8, cl. 1.

      61.    By enacting a state law intended to address the national security

concerns purportedly posed by TikTok, Montana has intruded upon not only the

federal government’s constitutionally-assigned primacy in matters of national

security and foreign affairs, but also the comprehensive and carefully crafted

regime that Congress set up to regulate in this area.

      62.    Two relevant federal authorities in this area are Section 721 of the

Defense Production Act of 1950, as amended (“Section 721”), 50 U.S.C. § 4565,

and the International Emergency Economic Powers Act (“IEEPA”), 50 U.S.C.

§§ 1701–08. These statutes (described in greater detail below) authorize the

Committee on Foreign Investment in the United States (“CFIUS”) and the

President, respectively, to investigate and, if warranted, to mitigate national

security risks arising out of foreign acquisitions or other various foreign economic

activities. Furthermore, Congress is actively considering additional legislation in

this area, such as the Restricting the Emergence of Security Threats that Risk

                                          27
Information and Communications Technology Act, or “RESTRICT Act,” which

according to the federal Executive Branch would provide the federal government

with “new mechanisms to mitigate the national security risks posed by high-risk

technology businesses operating in the United States.”32

      63.    Both Section 721 and IEEPA have been invoked in recent years by the

federal government in its engagement with Plaintiff and its ultimate parent

company BDL over perceived national security risks related to TikTok. Plaintiff

and BDL have been engaging with CFIUS for more than three years, including on

proposals to address perceived national security risks through a National Security

Agreement (“NSA”) that would be entered with CFIUS. These negotiations and

the engagement with CFIUS have led TikTok to restructure its U.S. business by

creating USDS to be responsible for the operation of the TikTok U.S. platform and

for the safeguarding of protected U.S. user data. Montana’s Ban ignores

Congress’s clear intention to address national security concerns at a national level

rather than to allow a patchwork of State laws.




32
  Statement from National Security Advisor Jake Sullivan on the Introduction of
the RESTRICT Act (Mar. 7, 2023), https://www.whitehouse.gov/briefing-
room/statements-releases/2023/03/07/statement-from-national-security-advisor-
jake-sullivan-on-the-introduction-of-the-restrict-act/.
                                         28
              a.    Section 721 and CFIUS

      64.     Congress enacted Section 721, which codifies CFIUS’s authority to

review foreign acquisitions of U.S. businesses, to investigate and address the sorts

of purported national security risks that Montana seeks to regulate through the

TikTok Ban.

      65.     CFIUS is an interagency committee of the executive branch tasked

with reviewing foreign acquisitions of U.S. businesses to determine their impact on

national security. See 50 U.S.C. §§ 4565(b)(1)(A)–(B), 4565(a)(4)(B)(i). CFIUS

is empowered to address identified national security risks arising out of

acquisitions of U.S. businesses by foreign persons by imposing or otherwise

reaching agreement with the transaction parties on conditions to address national

security concerns. Id. § 4565(l)(3)(A). The specific measures imposed by the

Committee “shall be based on a risk-based analysis, conducted by the Committee,

of the effects on the national security of the United States of the covered

transaction, which shall include an assessment of the threat, vulnerabilities, and

consequences to national security related to the transaction.” Id. § 4565(l)(4)(A).

If the risks to a particular transaction cannot be mitigated, the President is

empowered to prohibit the transaction. Id. § 4565(d).

      66.     In 2019, BDL was notified that CFIUS was considering whether to

review a 2017 acquisition by BDL of Musical.ly, a China-headquartered company


                                          29
that distributed a video-sharing application also called Musical.ly. CFIUS has

sought to review the TikTok business in connection with that acquisition. Since

2019, Plaintiff has proposed a number of measures to mitigate any purported

national security concerns of the U.S. government around TikTok U.S. user data.

      67.   Plaintiff has already begun the implementation of these mitigation

strategies, including moving protected U.S. user data under the exclusive control of

USDS and in the cloud environment maintained by Oracle Corporation. Plaintiff

remains in discussions with the U.S. government regarding this implementation

and other safeguards. See Status Report, TikTok Inc. v. CFIUS, No. 20-1444 (D.C.

Cir. Apr. 24, 2023) (explaining that the U.S. government, Plaintiff, and BDL

“continue to be involved in ongoing negotiations to determine” whether any

national security concerns of the U.S. government related to TikTok’s data

management practices “may be resolved by mutual agreement”).

            b.     IEEPA

      68.   Congress also addressed national security concerns posed by foreign

economic activity and transactions involving foreign ownership of domestic

companies through IEEPA.

      69.   Enacted in 1977, IEEPA grants the President significant authority to

regulate foreign commerce upon declaring a national emergency. See 50 U.S.C.

§ 1701(a) (authorizing the President “to deal with any unusual and extraordinary


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threat, which has its source in whole or substantial part outside the United States,

to the national security, foreign policy, or economy of the United States, if the

President declares a national emergency with respect to such threat”).

      70.    Specifically, IEEPA permits the president to “investigate, block

during the pendency of an investigation, regulate, direct and compel, nullify, void,

prevent or prohibit, any acquisition, holding, withholding, use, transfer,

withdrawal, transportation, importation or exportation of, or dealing in, or

exercising any right, power, or privilege with respect to, or transactions involving,

any property in which any foreign country or a national thereof has any interest by

any person, or with respect to any property, subject to the jurisdiction of the United

States.” 50 U.S.C. § 1702(a)(1)(B).33

      71.    IEEPA places several limitations on the President’s authority in

recognition of the limits of the First Amendment, providing that it “does not

include the authority to regulate or prohibit, directly or indirectly,” the importation

or exportation of “information or informational materials” or “personal

communication[s], which do[] not involve a transfer of anything of value.” 50

U.S.C. § 1702(b)(1), (3). IEEPA includes these limitations to “avoid[] serious

questions about the constitutionality” of IEEPA, and in an effort to “prevent the

33
  The President has delegated authority to the Treasury Department’s Office of
Foreign Assets Control to “block” or “regulate” prohibited transactions under
IEEPA.
                                          31
statute from running afoul of the First Amendment.” Cernuda v. Heavey, 720 F.

Supp. 1544, 1553 (S.D. Fla. 1989).

      72.    On August 6, 2020, President Trump issued an executive order

entitled “Addressing the Threat Posed by TikTok,” which purported to act under

IEEPA to prohibit “any transaction” with BDL or its subsidiaries, including

Plaintiff, by “any person, or with respect to any property, subject to the jurisdiction

of the United States.” Exec. Order No. 13942, 85 Fed. Reg. 48637. In September

2020, the Secretary of Commerce issued a list of prohibited transactions to

implement the President’s executive order.

      73.    On September 18, 2020, Plaintiff and BDL filed an action opposing

the prohibitions, including because they violated IEEPA’s limitation against

regulating the importation or exportation of “information or informational

materials” or “personal communication[s], which do[] not involve a transfer of

anything of value.” TikTok Inc. v. Trump, No. 20-cv-2658 (D.D.C. Sept. 18,

2020), Compl. at 40.

      74.    The United States District Court for the District of Columbia agreed,

and by orders dated September 27, 2020, and December 7, 2020, granted two

preliminary injunctions preventing those prohibitions from going into effect. See

TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 76 (D.D.C. 2020); TikTok Inc. v. Trump,

507 F. Supp. 3d 92, 96 (D.D.C. 2020).

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      75.    On June 9, 2021, President Biden issued an executive order entitled

“Protecting Americans’ Sensitive Data From Foreign Adversaries,” which, among

other things, revoked President Trump’s executive order purporting to ban under

IEEPA any U.S. transaction with BDL or Plaintiff. Exec. Order No. 14034, 86

Fed. Reg. 31423.

      76.    On July 14, 2021, the D.C. Circuit granted the federal government’s

motion to voluntarily dismiss the government’s appeal of those decisions. See

TikTok Inc. v. Biden, No. 20-5381, 2021 WL 3082803 (D.C. Cir. July 14, 2021).

                                    *      *      *

      77.    As these federal statutory authorities demonstrate, Congress has

enacted a comprehensive statutory regime that takes account not only of the

country’s national security needs, but also the protection of expressive activity and

the federal government’s concurrent obligation to manage foreign affairs. The

TikTok Ban undermines, disrupts, and conflicts with this federal scheme. For

example, the TikTok Ban undermines the years-long negotiations between

Plaintiff, BDL, and CFIUS, pursuant to which Plaintiff has implemented a

comprehensive set of measures to address national security concerns. The TikTok

Ban, by contrast, is not based on any particularized assessment of Plaintiff’s actual

practices, nor is it reasonably calibrated to address the specific issues raised in the

legislation, i.e., alleged Chinese government access to U.S. user data and TikTok’s

                                           33
content moderation practices. Instead, the TikTok Ban effects a wholesale ban on

TikTok in the State, notwithstanding the many ways in which Plaintiff can—and

does—protect U.S. user data and attempts to shield users from harmful content.

      F.     Enforcement of the TikTok Ban Would Cause Plaintiff
             Irreparable Harm.

      78.    Enforcement of the TikTok Ban would result in myriad harms to

Plaintiff, both inside and outside of Montana, including but not limited to the

following:

      79.    First, enforcement of the Ban would infringe upon Plaintiff’s First

Amendment rights, as well as those of its users. As Attorney General Knudsen

acknowledged, the State is “under no illusions that this is not going to get

challenged” on First Amendment grounds.34 While Attorney General Knudsen

went on to characterize the TikTok Ban as being at “the next frontier in First

Amendment jurisprudence that’s probably going to have to come from the U.S.

Supreme Court,” it does not take further guidance from the Supreme Court to

recognize that the TikTok Ban’s blanket prohibition on a popular communications

platform runs afoul of the First Amendment. As one Montana TikTok creator put




34
  David McCabe, A Plan to Ban TikTok in Montana Is a Preview for the Rest of
the Country, N.Y. TIMES (Apr. 12, 2023),
https://www.nytimes.com/2023/04/12/technology/tiktok-ban-montana.html.
                                         34
it, the TikTok Ban is “censorship at its finest form.”35 The Ban would bar Plaintiff

from making editorial decisions on whether, and how, to publish and disseminate

speech created by Montanans to others and vice versa. It would also prevent

Plaintiff from creating and sharing its own content about a variety of issues and

current events with Montanans. The harm from abridgment of such First

Amendment freedoms is inherently irreparable.

      80.    Second, enforcement of the Ban would destroy Plaintiff’s business in

Montana. The Ban will mean that TikTok will no longer be available in Montana,

resulting in the loss of many thousands of current and future users. Competitors

will undoubtedly benefit as TikTok creators and users in Montana switch

platforms. And even if the Ban were lifted after a period of weeks or months, the

harm to TikTok’s user base and Plaintiff’s competitive position in Montana would

be permanent.

      81.    Third, the TikTok Ban will destroy the goodwill that Plaintiff needs to

partner with other businesses and advertisers that are either based in Montana or

wish to advertise to Montana consumers. Commercial partners seeking to sell their

products in Montana or otherwise reach Montana audiences will move away from



35
  Dominic Vitiello, Some Local Businesses Disheartened by Potential Statewide
TikTok Ban, NBC MONTANA (Apr. 11, 2023),
https://nbcmontana.com/news/local/some-local-businesses-disheartened-by-
potential-statewide-tiktok-ban#.
                                         35
TikTok, leading not just to a loss of revenue but extraordinary harm to Plaintiff’s

reputation and goodwill, making it unlikely that these relationships could be

salvaged if the Ban were to be lifted. These reputational harms will not be limited

to TikTok’s business operations in Montana; advertisers and other business

partners outside of Montana will also be less likely to partner with TikTok because

it is banned in Montana.

      82.    Fourth, because the TikTok Ban imposes liability not just on Plaintiff,

but also on “mobile application store[s]” that make TikTok available to download

in Montana (even if individuals in Montana do not actually download, activate, or

otherwise access the app while in the State), the TikTok Ban may lead one or more

app stores to remove TikTok from their store. Depending on the technical

difficulties faced by the app stores in ensuring that users are not able to access

TikTok within Montana’s state borders, one or more of these app stores may

decide not to offer TikTok at all, rather than risk the legislation’s draconian

penalties. Were the app stores to remove the TikTok app altogether, that would

prevent everyone in the United States from downloading TikTok, causing further

irreparable harm to Plaintiff.

      83.    Furthermore, even though the TikTok Ban is not scheduled to take

effect until January 1, 2024, its planned prohibition on TikTok in the State is

already having a negative business impact on Plaintiff, as well as a chilling effect

                                          36
on the speech of Plaintiff and other TikTok users in Montana. Like any business,

Plaintiff must plan for the future, and the prospect that TikTok could become

entirely unavailable in Montana negatively affects Plaintiff’s ability to operate in

Montana and elsewhere.

      84.    If not for the TikTok Ban, Plaintiff would continue to operate TikTok

in Montana. Attorney General Knudsen has warned, however, that he “absolutely”

will “go after the company itself” and “anybody that allows it to be downloaded”

with a “$10,000 per day civil penalty.”36 Plaintiff brings this suit to enjoin

Defendant Knudsen from carrying out this express intention to use the legislation’s

penalties to shut down TikTok, and thus suppress free speech, across the State of

Montana.

                              CLAIMS FOR RELIEF

            Count 1: The TikTok Ban Violates the First Amendment.

      85.    Plaintiff realleges and incorporates by reference all prior paragraphs

of this Complaint and the paragraphs in the counts below as though fully set forth

in this count.




36
 Fran Beyer, Mont. AG Knudsen to Newsmax: State TikTok Ban First of Its Kind,
NEWSMAX (Apr. 17, 2023), https://www.newsmax.com/newsmax-tv/tiktok-
montana-ban/2023/04/17/id/1116448.
                                          37
       86.    The First Amendment to the U.S. Constitution, as incorporated by the

Fourteenth Amendment, prohibits state laws that “abridg[e] the freedom of

speech.” U.S. Const., amend. I.

       87.    By banning TikTok—a forum that Plaintiff and hundreds of thousands

of individuals in Montana use to engage in constitutionally protected speech—the

TikTok Ban unlawfully abridges one of the core freedoms guaranteed by the First

Amendment. See U.S. WeChat Users All. v. Trump, 488 F. Supp. 3d 912, 926

(N.D. Cal. 2020) (preliminarily enjoining the federal government’s ban of the

Chinese-owned WeChat app because plaintiffs had “shown serious questions going

to the merits of their First Amendment claim that” the Ban “effectively

eliminate[d] the plaintiffs’ key platform for communication, slow[ed] or

eliminate[d] discourse, and was the equivalent of censorship of speech or a prior

restraint on it”).

       88.    Plaintiff is among the speakers whose expression the TikTok Ban

prohibits. As a U.S. corporation, Plaintiff TikTok Inc. is entitled to First

Amendment protections. See Citizens United v. Fed. Election Comm’n, 558 U.S.

310, 342 (2010) (“The Court has recognized that First Amendment protection

extends to corporations.”).

       89.    The TikTok Ban prevents Plaintiff from exercising editorial discretion

over the third-party speech published on the app. Plaintiff “is more than a passive

                                          38
receptacle or conduit for news, comment, and advertising” of others; its “choice of

material” to recommend or forbid “constitute[s] the exercise of editorial control

and judgment” that is independently protected by the First Amendment. Miami

Herald Pub. Co. v. Tornillo, 418 U.S. 241, 258 (1974). For example, Plaintiff

encourages users to create and share education and environment-focused content

on the app, such as through the “EduTok” campaign, which results in the

promotion of certain public interest content on the app. Moreover, Plaintiff, like

operators of other online platforms, engages in content moderation and

enforcement of its Community Guidelines, which includes “decisions about what

content to include, exclude, moderate, filter, label, restrict, or promote.”

O’Handley v. Padilla, 579 F. Supp. 3d 1163, 1186–87 (N.D. Cal. 2022).

      90.    This editorial discretion is constitutionally protected speech. See, e.g.,

NetChoice, LLC v. Att’y General, Florida, 34 F.4th 1196, 1210 (11th Cir. 2022)

(“[W]hen a platform removes or deprioritizes a user or post, it makes a judgment

about whether and to what extent it will publish information to its users—a

judgment rooted in the platform’s own views about the sorts of content and

viewpoints that are valuable and appropriate for dissemination on its site,” and

“thereby engages in ‘speech’ within the meaning of the First Amendment.”);

O’Handley, 579 F. Supp. 3d at 1188 (“Twitter has important First Amendment




                                          39
rights that would be jeopardized by a Court order telling Twitter what content-

moderation policies to adopt and how to enforce those policies.”).

      91.    Plaintiff also uses TikTok to create and share its own content about a

variety of issues and current events, including, for example, its support for small

businesses, Earth Day, and literacy and education.37 When Plaintiff publishes its

own posts and other information, it is engaging in core speech protected by the

First Amendment. See, e.g., Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011)

(“[T]he creation and dissemination of information are speech within the meaning

of the First Amendment.”); NetChoice, 34 F.4th at 1210 (“Social-media platforms

like . . . TikTok are private companies with First Amendment rights, and when

they (like other entities) disclose, publish, or disseminate information, they engage

in ‘speech within the meaning of the First Amendment.’” (internal quotation

marks, alterations, and citations omitted)).

      92.    The restrictions that the TikTok Ban imposes on Plaintiff’s speech and

that of TikTok users violate the First Amendment. The TikTok Ban is subject to

strict scrutiny because it constitutes government action that singles out TikTok and



37
  TikTok (@tiktok), TIKTOK, https://www.tiktok.com/t/ZTRELfewn (last visited
May 22, 2023); TikTok (@tiktok), TIKTOK,
https://www.tiktok.com/t/ZTRELWoCN (last visited May 22, 2023); TikTok
(@tiktok), TIKTOK, https://www.tiktok.com/t/ZTRTqtL7D (last visited May 22,
2023); TikTok (@tiktok), TIKTOK, https://www.tiktok.com/t/ZTRTqnrSJ (last
visited May 22, 2023).
                                          40
its users for disfavored treatment with the content-based rationale that videos on

TikTok are harmful to minors. As a content-based restriction on speech, the

TikTok Ban is “presumptively invalid,” R.A.V. v. City of St. Paul, 505 U.S. 377,

382 (1992), and must be struck down unless Defendant can satisfy his burden of

meeting the stringent requirements of strict scrutiny, meaning that the relevant

restrictions must be the least-restrictive means of promoting a compelling

government interest, see United States v. Playboy Ent. Grp., 529 U.S. 803, 813

(2000). “It is rare that a regulation restricting speech because of its content will

ever be permissible.” Id. at 818. The TikTok Ban is also subject to strict scrutiny

to the extent the State seeks to justify the Ban based on purported concerns that

Plaintiff will use TikTok to promote certain viewpoints on the platform over

others. See, e.g., Waln v. Dysart Sch. Dist., 54 F.4th 1152, 1163 (9th Cir. 2022).

      93.    When the Act was first introduced in the Montana Senate, a legal

memorandum written by a staff attorney for the Montana Legislature read at a

Senate hearing agreed that “a court would likely apply a strict scrutiny approach in

construing the provisions of the draft.”38 Governor Gianforte subsequently

suggested amendments to the bill that would have applied its prohibitions to a



38
  Hearing, Montana Senate Business, Labor, and Economic Affairs (Feb. 27,
2023), http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/20170221/-
1/48139.
                                          41
broad range of social media applications, not just TikTok, and would have

removed the legislation’s purported content-based concerns about the material

available on TikTok.39 Setting aside whether those changes would have been

sufficient to subject the Ban to a lower tier of scrutiny (they would not), the

Montana Legislature did not consider Governor Gianforte’s suggested

amendments.

      94.    Strict scrutiny applies also because the TikTok Ban constitutes a prior

restraint on Plaintiff’s and its users’ speech—“the most serious and the least

tolerable infringement on First Amendment rights.” Neb. Press Ass’n v. Stuart,

427 U.S. 539, 559 (1976). The TikTok Ban entirely prohibits the use of TikTok in

Montana, barring Plaintiff and the many thousands of Montanans who use the app

from engaging in protected speech. See U.S. WeChat Users All., 488 F. Supp. 3d

at 926 (holding it was a “serious question[]” whether the government’s ban on

WeChat was a prior restraint). Such prior restraints are reviewed for strict

scrutiny, In re Dan Farr Prods., 874 F.3d 590, 593 n.2 (9th Cir. 2017), and “bear a

heavy presumption against [their] constitutional validity,” Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 70 (1963).



39
  See Eric Dietrich, Gianforte Signals He’ll Sign TikTok Ban—But He Prefers
Changes First, MONTANA FREE PRESS (Apr. 27, 2023),
https://montanafreepress.org/2023/04/27/montana-governor-gianforte-pushes-
back-on-tiktok-ban-bill/.
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      95.    The State cannot meet its demanding burden to show that the TikTok

Ban satisfies strict scrutiny. Even if the State could articulate a general interest in

securing its residents’ data or protecting minors from harmful content, the State has

failed to point to anything beyond speculation to suggest that banning TikTok

would advance either interest. The purported national security concerns animating

the TikTok Ban are outside the State’s realm of expertise and constitutional

authority. And the State has failed entirely to substantiate the assertion that

TikTok is harmful to minors, or that TikTok is more dangerous than the many

other online entertainment, communications, and social-media services that the

TikTok Ban does not touch. The State’s “justification for” the TikTok Ban’s

“novel burden on expression must be ‘far stronger than mere speculation about

serious harms.’” Bartnicki v. Vopper, 532 U.S. 514, 532 (2001) (quoting United

States v. Treasury Empls., 513 U.S. 454, 475 (1995)); see also Washington Post v.

McManus, 944 F.3d 506, 522 (4th Cir. 2019) (“Without direct evidence (or

anything close to it) of [foreign] meddling,” the State “has failed to show that this

purported threat is likely or imminent enough to justify the Act’s intrusive

preventative measures.”).

      96.    Even if the State could show that the TikTok Ban served a compelling

government interest, the legislation’s total ban on TikTok is far from the least-

restrictive means of promoting that interest. Numerous less-restrictive alternatives

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exist that could address the State’s perceived concerns. The State could, for

example, enact an appropriately tailored data privacy law of general application, or

mandate additional protections designed to protect the safety of minors on the

internet. By disregarding these alternatives, the TikTok Ban burdens far more

speech than necessary by completely extinguishing a forum used by Plaintiff and

hundreds of thousands of users in Montana for constitutionally protected speech.

See, e.g., U.S. WeChat Users All., 488 F. Supp. 3d at 927 (holding that, “while the

government has established that China’s activities raise significant national-

security concerns[,] it has put in scant little evidence that its effective ban of

WeChat for all U.S. users addresses those concerns. And, as the plaintiffs point

out, there are obvious alternatives to a complete ban.”).

      97.    Even if strict scrutiny did not apply, at a minimum, the TikTok Ban is

subject to intermediate scrutiny as a government regulation of the time, place, or

manner of protected speech, because the TikTok Ban prohibits the manner in

which Plaintiff and its users may communicate with one another (i.e., through the

TikTok app). See Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989).

Intermediate scrutiny requires that a government speech restriction must be

“narrowly tailored to serve a significant government interest,” may not “burden

substantially more speech than is necessary to further the government’s legitimate

interests,” and must “leave open ample alternative channels for communication of

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the information.” McCullen v. Coakley, 573 U.S. 464, 477, 486 (2014) (internal

quotation marks omitted).

      98.    For many of the same reasons the TikTok Ban cannot survive strict

scrutiny, it cannot survive intermediate scrutiny. The State cannot show that the

TikTok ban serves a significant government interest, because the connection

between the legislation and the issues it purports to address are purely speculative,

see supra ¶ 95. Nor can the State show that the TikTok Ban is narrowly tailored to

serve any such interest, given the sweeping breadth of the legislation and the

existence of numerous, substantially less-restrictive alternatives that the State

could enact instead, see supra ¶ 96.

      99.    Furthermore, because the TikTok Ban “effectively prevents” Plaintiff

“from reaching [its] intended audience, it fails to leave open ample alternative

means of communication,” and thus fails intermediate scrutiny for this independent

reason. Edwards v. City of Coeur d’Alene, 262 F.3d 856, 866 (9th Cir. 2001). The

First Amendment protects a speaker’s interest in reaching an audience of its

choosing in a manner of its choosing. See, e.g., Galvin v. Hay, 374 F.3d 739, 752

(9th Cir. 2004) (“[T]here is a strong First Amendment interest in . . . protecting

speakers seeking to reach a particular audience.”). While Plaintiff might be able to

communicate with individuals other than Montana TikTok users, and through

means other than the TikTok app, it has no meaningful alternative means to

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communicate with Montana TikTok users. Weinberg v. City of Chicago, 310 F.3d

1029, 1041 (7th Cir. 2002) (“[A]n alternative is not adequate if it foreclose[s] a

speaker’s ability to reach one audience even if it allows the speaker to reach other

groups.” (internal quotation marks omitted)).

      100. Indeed, laws like the TikTok Ban that impose a total prohibition on a

medium of expression are particularly disfavored, because they often suppress

more speech than necessary. See, e.g., City of Ladue v. Gilleo, 512 U.S. 43, 55

(1994) (“Our prior decisions have voiced particular concern with laws that

foreclose an entire medium of expression. . . . Although prohibitions foreclosing

entire media may be completely free of content or viewpoint discrimination, the

danger they pose to the freedom of speech is readily apparent—by eliminating a

common means of speaking, such measures can suppress too much speech.”).

      101. For many of these same reasons, the TikTok Ban is unconstitutionally

“overbroad” on its face due to its burdens on the speech of the many thousands of

people in Montana who currently use TikTok or might wish to do so in the future.

A statute is constitutionally overbroad if a “substantial number” of its “applications

are unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”

United States v. Stevens, 559 U.S. 460, 473 (2010) (quoting Wash. State Grange v.

Wash. State Republican Party, 552 U.S. 442, 449 n.6 (2008)). Here, because the

TikTok Ban would completely destroy an important medium of communication

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throughout the State, based on speculative and unfounded concerns about national

security and minor safety, all of its applications are unconstitutional, not just a

substantial number.

      102. At a minimum, the TikTok Ban suffers from unconstitutional

overbreadth as a result of its ban on TikTok use by adults. While the Ban purports

to express concern about “minors’” access to “dangerous content,” there is no

similar concern expressed about adults’ ability to access content on the app. The

TikTok Ban, however, applies to all users in Montana, not just users under the age

of 18. Thus, even if the TikTok Ban could survive constitutional scrutiny with

respect to minors (it cannot), there is no equivalent justification for the Ban with

respect to adults.

      103. The TikTok Ban’s violation of Plaintiff’s First Amendment rights is

causing and will continue to cause ongoing and irreparable harm to Plaintiff.

            Count 2: The TikTok Ban Is Preempted by Federal Law.

      104. Plaintiff realleges and incorporates by reference all prior paragraphs

of this Complaint and the paragraphs in the counts below as though fully set forth

in this count.

      105. As explained above, the TikTok Ban purports to ban TikTok based on

perceived national security concerns as well as unsubstantiated fears that Plaintiff

may share Montanans’ user data with Chinese authorities. But in attempting to ban

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Plaintiff from operating in the State, the TikTok Ban runs afoul of basic tenets of

federal preemption.

      106. The Supremacy Clause of the U.S. Constitution prohibits States from

regulating conduct “in a field that Congress, acting within its proper authority, has

determined must be regulated by its exclusive governance.” Arizona v. United

States, 567 U.S. 387, 399 (2012). State laws are also preempted when they conflict

with federal law, including when they stand “as an obstacle to the accomplishment

and execution of the full purposes and objectives of Congress.” Id. (quoting Hines

v. Davidowitz, 312 U.S. 52, 67 (1941)).

      107. Here, the TikTok Ban is preempted by federal law because it regulates

conduct in the field of national security and foreign affairs, purporting to remedy

concerns posed by foreign involvement in domestic businesses—an area that the

Constitution has assigned to the federal government and that Congress has

occupied by enacting an extensive regulatory framework. The TikTok Ban also

conflicts with this federal regulatory framework, including by interfering with the

accomplishment of the full objectives of Congress in Section 721, IEEPA, and

related regulations. See Zschernig v. Miller, 389 U.S. 429, 432 (1968) (States may

not trespass into the realm of “foreign affairs which the Constitution entrusts to the

President and the Congress.”); Movsesian, 670 F.3d at 1071 (“Under the foreign




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affairs doctrine, state laws that intrude on this exclusively federal power are

preempted.”).

      108. “The Supreme Court has long recognized that foreign relations and

national security are preeminently federal concerns that are exclusive of state

regulation.” NLMK Pa., LLC v. U.S. Steel Corp., 592 F. Supp. 3d 432, 452 (W.D.

Pa. 2022); see also, e.g., Zschernig, 389 U.S. at 432 (invalidating an Oregon statute

that represented “an intrusion by the State into the field of foreign affairs”). This is

especially true with respect to the regulation of national security risks posed by the

foreign involvement in domestic businesses. In this area, Congress has legislated

so pervasively—including by enacting Section 721 and IEEPA—that it is clear

Congress intended to leave no room for States to make separate determinations that

would create a patchwork of different laws affecting national security and foreign

affairs. See Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).

Furthermore, “even in the absence of any express federal policy, a state law still

may be preempted under the foreign affairs doctrine if it intrudes on the field of

foreign affairs without addressing a traditional state responsibility.” Movsesian,

670 F.3d at 1072.

      109. The TikTok Ban purports to justify prohibiting TikTok by asserting,

inter alia, that China is an “adversary of the United States,” that China uses

TikTok as a tool to conduct “international espionage,” and that TikTok allows

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China “to track the real-time locations of public officials, journalists, and other

individuals adverse to the Chinese Communist Party’s interests.” These concerns

are unfounded, but even setting that aside, the TikTok Ban’s purported

justifications regarding national security and foreign relations are not grounded in

an area of traditional state responsibility, but are instead, as noted, supra ¶¶ 107-

108, distinctly federal interests that are addressed through nationwide law and

policy. See Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954,

964 (9th Cir. 2010) (“Courts have consistently struck down state laws which

purport to regulate an area of traditional state competence, but in fact, affect

foreign affairs.”).

       110. The TikTok Ban thus contravenes Congress’s manifest intent to deal

with national security threats posed by foreign economic activity and involvement

in U.S. business through Section 721 and IEEPA on a nationwide basis.

       111. The TikTok Ban not only intrudes upon the federal government’s field

of exclusive regulation over matters of national security and foreign affairs; it also

conflicts with congressional policy in that field.

       112. For example, Congress gives CFIUS a broad range of tools short of an

outright prohibition to mitigate the national security risks the U.S. government

determines are posed by certain categories of transactions. See 50 U.S.C.

§ 4565(l)(3)(A)(i) (permitting CFIUS to “negotiate, enter into or impose, and

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enforce any agreement or condition with any party to the covered transaction in

order to mitigate any risk to the national security of the United States that arises as

a result of the covered transaction”). Indeed, Plaintiff and CFIUS have been in

negotiations for nearly three years to identify mitigation measures that further

national security, short of a complete ban. The President also has the authority to

mandate divestiture under Section 721 in certain circumstances. See id. § 4565(d).

      113. In passing the TikTok Ban, however, the Montana government has

substituted its own view of how best to address perceived national security threats

from China, requiring a total ban on TikTok regardless of CFIUS and the

President’s ultimate conclusions regarding this same matter. While the TikTok

Ban purports to address this issue by declaring that it is contingently void “if tiktok

is acquired by or sold to a company that is not designated as a foreign adversary”

under federal regulations, this provision merely reinforces the conflict between the

TikTok Ban and federal law. CFIUS expressly has authority to take actions short

of a divestiture, such as by entering into mitigation agreements, and the statute

makes clear that the President has discretion as to whether to take action pursuant

to the statute or not. Thus, the President’s and CFIUS’s authorities under Section

721 extend beyond the circumstances posited by the Ban’s contingent voidness

clause, and Montana’s efforts to short-circuit and constrain the ongoing CFIUS

review represent a clear obstacle to Congress’s objectives in enacting Section 721.

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      114. Furthermore, Congress gave the President specified authorities to

regulate foreign commerce upon declaring a national emergency under IEEPA.

See 50 U.S.C. § 1701(a). But Congress also made that authority subject to certain

express limitations, including that the President may not “regulate or prohibit,

directly or indirectly,” the importation or exportation of “information or

information materials,” or “personal communication[s], which do[] not involve a

transfer of anything of value.” Id. § 1702(b)(1), (3).

      115. Montana’s TikTok Ban conflicts with Congress’s judgment as to the

proper limits of government authority over foreign economic activity because it

restricts the types of personal communications and informational materials

excluded from the scope of IEEPA—limits that were included to, among other

things, “prevent the statute from running afoul of the First Amendment.” Cernuda,

720 F. Supp. at 1553.

      116. Accordingly, the TikTok Ban is preempted by federal law and stands

in violation of the Supremacy Clause of the U.S. Constitution.

      117. The TikTok Ban’s violation of the Supremacy Clause is causing and

will continue to cause ongoing and irreparable harm to Plaintiff.




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  Count 3: The TikTok Ban Violates the Commerce Clause and Disrupts the
   Constitution’s Structural Distribution of Authority Between Federal and
                             State Governments.

      118. Plaintiff realleges and incorporates by reference all prior paragraphs

of this Complaint and the paragraphs in the counts below as though fully set forth

in this count.

      119. The Commerce Clause of the U.S. Constitution grants Congress the

power to regulate commerce “with foreign Nations, and among the several States.”

U.S. Const. art. 1, § 8, cl. 3. While the Commerce Clause is framed “by its text

[as] an affirmative grant of power to Congress,” the so-called “Dormant”

component of the Clause “has long been recognized as a self-executing limitation

on the power of the States to enact laws imposing substantial burdens on

[interstate] commerce.” South-Central Timber Dev., Inc. v. Wunnicke, 467 U.S.

82, 87 (1984).

      120. The TikTok Ban imposes substantial burdens on interstate commerce

in violation of the Commerce Clause and other structural provisions of the

Constitution by prohibiting Plaintiff from operating TikTok in Montana and

penalizing Plaintiff any time a user in Montana accesses TikTok or is offered the

ability to access or download TikTok in the State. The TikTok Ban is not limited

to Montana residents; it applies to anyone in the State, including those visiting or

merely passing through for work.

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      121. Substantial burdens on interstate commerce “generally result from

inconsistent regulation of activities that are inherently national or require a uniform

system of regulation.” Bernstein v. Virgin Am., Inc., 3 F.4th 1127, 1135 (9th Cir.

2021) (quoting Nat’l Ass’n of Optometrists & Opticians v. Harris, 682 F.3d 1144,

1148 (9th Cir. 2012)).

      122. Plaintiff’s operation of TikTok, an application used by over 150

million users in the United States, including in every State, is inherently national in

scope and requires a uniform system of regulation, not one subject to the policy

decisions of fifty separate States.

      123. Implementing the TikTok Ban would cause inevitable disruption that

would impede the flow of interstate commerce and spill over into neighboring

States. This is especially true given that the TikTok Ban is not limited to Montana

residents; rather, the TikTok Ban prohibits the use of TikTok by anyone physically

present in the State, including visitors and others passing through, such as long-

haul truckers and railroad employees. Montana also hosts millions of tourists each

year. To comply with the Ban, Plaintiff would need to block any user from

accessing TikTok the moment they cross State lines, and for those users who want

to retain access to TikTok, they would be required to adjust their plans

accordingly.




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      124. Separately, because the TikTok Ban penalizes not only Plaintiff for

violations of the legislation but also “mobile application store[s]” merely for

making TikTok available to download (regardless of whether the app is actually

downloaded), the TikTok Ban may lead one or more app stores to elect not to offer

TikTok at all, rather than risk the significant penalties under the legislation. See

supra ¶ 82. If national app stores remove the app, TikTok would lose access to

new users across the entire United States based on the actions of the Montana

Government. Such a possibility is forbidden by the Commerce Clause and

structure of the Constitution.

      125. These “burdens on interstate commerce” flowing from the TikTok

Ban are “excessive” in relation to the putative local benefits. Comptroller of the

Treasury of Md. v. Wynne, 575 U.S. 542, 549 (2015). Indeed, the resulting

“confusion and difficulty” of trying to comply with this “varied system of state

regulation” in an area where there is an inherent “need for uniformity” is exactly

the sort of burden on interstate commerce the Commerce Clause prohibits. S. Pac.

Co. v. Arizona, 325 U.S. 761, 774 (1945).

      126. The Ban also facially discriminates against foreign commerce by

prohibiting TikTok in the State due to Plaintiff’s asserted economic relationship

with a foreign-owned entity. By imposing the Ban as long as Plaintiff purportedly

remains a subsidiary of a company “incorporated in” China or “any country

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designated as a foreign adversary” of the United States, the Ban aims to “affect

business decisions pertaining to a foreign nation.” Nat’l Fed’n Trade Council v.

Natsios, 181 F.3d 38, 46–47 (1st Cir. 1999). The Ban is thus a “direct attempt

regulate the flow of foreign commerce.” Id. State laws like the Ban that facially

discriminate against foreign commerce are subject to the “strictest scrutiny.”

Hughes v. Oklahoma, 441 U.S. 322, 337 (1979). The fact that Plaintiff “could

avoid that discrimination by changing the domicile” of its parent company under

the Ban’s contingent voidness provision confirms that the Ban violates the

Commerce Clause. Kraft Gen. Foods, Inc. v. Iowa Dep’t of Revenue & Fin., 505

U.S. 71, 76 (1992). And the State cannot carry its heavy burden of showing that

the Ban’s discrimination serves a legitimate local purpose or that there is an

absence of nondiscriminatory alternatives.

      127. The TikTok Ban’s substantial burden on interstate commerce and

facial discrimination against foreign commerce therefore violates the Commerce

Clause and constitutional structure.

      128. The TikTok Ban’s violation of the Commerce Clause and

constitutional structure is causing and will continue to cause ongoing and

irreparable harm to Plaintiff.




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      Count 4: The TikTok Ban Is an Unconstitutional Bill of Attainder.

      129. Plaintiff realleges and incorporates by reference all prior paragraphs

of this Complaint as though fully set forth in this count.

      130. Article I of the U.S. Constitution provides that “[n]o State shall . . .

pass any Bill of Attainder.” U.S. Const. art. I, § 10, cl. 1. A bill of attainder is

“legislative punishment, of any form or severity, of specifically designated persons

or groups.” United States v. Brown, 381 U.S. 437, 447 (1965).40

      131. By singling out TikTok for legislative punishment applicable to no

other social media or entertainment platform, the TikTok Ban is an

unconstitutional bill of attainder. Although numerous companies, both foreign and

domestic, operate social media platforms, communications services, and online

entertainment platforms in Montana, the TikTok Ban prohibits TikTok—and only

TikTok—based on purported concerns about its data security practices. The

TikTok Ban singles out the TikTok application for this punishment,

notwithstanding that the data allegedly collected by the app is no different in kind

than data collected from any number of other sources and that is widely available

in the data broker market. See supra ¶ 59.

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  Courts in the Ninth Circuit “do not distinguish in [their] analysis between the
Bill of Attainder Clauses in section 10, which applies to the states, and in section 9,
which applies to Congress.” SeaRiver Mar. Fin. Holdings, Inc. v. Mineta, 309
F.3d 662, 672 n.6 (9th Cir. 2002); see also Fowler Packing Co. v. Lanier, 844 F.3d
809, 817 n.5 (9th Cir. 2016) (similar).
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      132. The TikTok Ban’s creation of liability each time a user in Montana

accesses TikTok, is offered the ability to access TikTok, or is offered the ability to

download TikTok constitutes unconstitutional legislative punishment.

      133. First, the TikTok Ban inflicts “pains and penalties” that historically

have been associated with bills of attainder. Among other things, the legislation

banishes Plaintiff from Montana and punitively confiscates Plaintiff’s business

expectancy relating to the ongoing operation of TikTok in the State. See Nixon v.

Adm’r of Gen. Servs., 433 U.S. 425, 474 (1977) (“‘[P]ains and penalties’

historically consisted of a wide array of punishments: commonly included were

imprisonment, banishment, and the punitive confiscation of property by the

sovereign.”). Furthermore, the TikTok Ban imposes those pains and penalties on

Plaintiff as a result of its perceived disloyalty to the United States—i.e., based on

unfounded allegations that Plaintiff might misappropriate U.S. user data to share

with the Chinese government. See id. (explaining that pains and penalties were

“[g]enerally addressed to persons considered disloyal to the Crown or State”).

      134. Second, “viewed in terms of the type and severity of burdens

imposed” on Plaintiff, the TikTok Ban’s treatment of Plaintiff cannot “reasonably

. . . be said to further nonpunitive legislative purposes.” Id. at 475–76. A $10,000

penalty imposed each time a user in Montana accesses TikTok (or is even offered

the opportunity to download the app) is too severe a penalty not to be punitive.

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Furthermore, the fact that the TikTok Ban targets TikTok exclusively—and no

other application with foreign ownership—confirms that the State lacks a

legitimate interest in enacting the TikTok Ban apart from inflicting legislative

punishment.

      135. Third, and finally, the legislative record evinces an intent to punish

Plaintiff. Prior to the TikTok Ban’s passage, members of the Montana Legislature

expressed their support for the legislation in terms of the opportunity it presented

to punish Plaintiff, often for perceived wrongdoing by China. For example,

Attorney General Knudsen, whose office reportedly drafted the TikTok Ban,

explicitly tied support of the legislation to a broader effort to exact payback on

China, stating that, “[f]rankly, the Chinese did us a favor by floating that spy

balloon over Montana when they did.”41 Similarly, in a House debate on April 13,

2023, Representative Edward Butcher referred to Plaintiff—a private U.S.

company—as both an “economic adversary” and a “political adversary,” and urged

his colleagues not to “bury our head in the sand and say ‘oh gee, well, we don’t




41
  David McCabe, A Plan to Ban TikTok in Montana Is a Preview for the Rest of
the Country, N.Y. TIMES (Apr. 12, 2023),
https://www.nytimes.com/2023/04/12/technology/tiktok-ban-montana.html.
                                          59
want to pick on one company,’” because “[t]hey’re the ones that started this

thing.”42

      136. As another example, during a House Judiciary Committee Hearing on

March 28, 2023, Representative Neil Duram referred to TikTok as “the music

played by the Pied Piper to steal this generation’s heart and mind.”43 Other

legislators remarked on the punitive nature of the TikTok Ban, including

Representative Zooey Zephyr, who in opposition to the bill at a House floor

session on April 13, 2023, said that while “[d]ata privacy is a really serious

concern, . . . that’s not really being addressed in this Bill.” Instead, Representative

Zephyr noted, “[w]hat we heard in Committee, what we heard from proponents of

this Bill, was a lot of conversation around China, around communists, around red

scare stuff.”44 These and other comments from legislators during deliberation of

the TikTok Ban confirm that the legislation was not an effort to regulate in an area



42
  Floor Session, Montana House (Apr. 13, 2023), http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/20230416/
21/46167.
43
  Hearing, Montana House Judiciary (Mar. 28, 2023), http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/20230416/
30/47792; see also David McCabe, A Plan to Ban TikTok in Montana Is a Preview
for the Rest of the Country, N.Y. TIMES (Apr. 12, 2023),
https://www.nytimes.com/2023/04/12/technology/tiktok-ban-montana.html.
44
  Floor Session, Montana House (Apr. 13, 2023), http://sg001-
harmony.sliq.net/00309/Harmony/en/PowerBrowser/PowerBrowserV2/20230416/
21/46167.
                                          60
of legitimate state concern, but instead a political act of retribution aimed at

punishing Plaintiff erroneously as a perceived proxy for the Chinese government.

      137. Accordingly, the TikTok Ban constitutes an unconstitutional bill of

attainder.

      138. The TikTok Ban’s imposition of an unconstitutional bill of attainder is

causing and will continue to cause ongoing and irreparable harm to Plaintiff.

                              REQUESTED RELIEF

      WHEREFORE, Plaintiff prays that this Court grant the following relief:

      (1)    Issue a declaratory judgment pursuant to 28 U.S.C. § 2201(a) that the

             TikTok Ban is unconstitutional and preempted by federal law;

      (2)    Issue an order invalidating the TikTok Ban and preliminarily and

             permanently enjoining Defendant from implementing or enforcing the

             TikTok Ban, and preserving the status quo; and

      (3)    Grant any other and further relief that this Court may deem just,

             equitable, and proper.




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